Case 2:08-cr-00121-RAH-CWB Document 514 Filed 03/24/09 Page 1 of 6
Case 2:08-cr-00121-RAH-CWB Document 514 Filed 03/24/09 Page 2 of 6
Case 2:08-cr-00121-RAH-CWB Document 514 Filed 03/24/09 Page 3 of 6
Case 2:08-cr-00121-RAH-CWB Document 514 Filed 03/24/09 Page 4 of 6
Case 2:08-cr-00121-RAH-CWB Document 514 Filed 03/24/09 Page 5 of 6
Case 2:08-cr-00121-RAH-CWB Document 514 Filed 03/24/09 Page 6 of 6
